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                 APRIL 9, 2021
                CBP JUVENILE
             COORDINATOR REPORT
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                                #:42952
                                                                            1300 Pennsylvania Avenue, NW
                                                                            Washington, DC 20229




 April 9, 2021

 MEMORANDUM FOR:              The Honorable Judge Gee
                              District Judge
                              U.S. District Court, Central District of California
                                                                                                     4/9/2021

 FROM:                        Henry A. Moak, Jr.
                              Chief Accountability Officer              X

                              U.S. Customs and Border Protection        Signed by: HENRY A MOAK JR




 SUBJECT:                     CBP Juvenile Coordinator April 9, 2021 Report

 On March 19, 2021 this Court ordered the U.S. Customs and Border Protection (CBP) Juvenile
 Coordinator to file an interim report providing: “(i) a census of Class Members in CBP custody
 in the Rio Grande Valley sector, (ii) an update on CBP’s policies and capacity for processing
 minors in light of COVID-19, Title 42, and the recent influx, (iii) an update as to whether the
 conditions at the Donna Centralized Processing Center (CPC-DNT) or any other facility that
 serves as a hub for processing minors are safe and sanitary under FSA Paragraph 12, and (iv) a
 status update, if any, on the CPC Ursula renovation project and any other CBP construction or
 renovation projects related to processing Class Members.”

 The CBP Juvenile Coordinator submits the following report in response to this Court’s March
 19, 2021 Order. This report builds on information provided regarding COVID-19 guidance and
 status updates described in the previous interim reports submitted January 15, 2021 and March 5,
 2021.

 Overview

 Currently, CBP is facing unprecedented and unique challenges caused by the surge of
 unaccompanied children (UCs) and families. This surge is further exacerbated by the COVID-19
 pandemic and limitations on HHS/ORR’s ability to accept transfers from CBP in a timely
 manner. CBP recognizes its duty to provide safe and sanitary conditions to all children in
 custody during this time, and the Agency continues to undertake extensive efforts to meet the
 requirements of the Flores Settlement Agreement (FSA) to the extent possible. The U.S. Border
 Patrol (USBP) Rio Grande Valley (RGV) Sector is the epicenter of the current influx and has
 taken extensive measures to mitigate increased time in custody and facilitate the expeditious
 transfer of individuals out of CBP custody.

 My observations and takeaways from my inspections in RGV Sector the week of April 5 largely
 align with the findings outlined in the Special Master/Independent Monitor’s April 2, 2021
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 report. CBP welcomes their continued engagement and feedback. The Agency will continue to
 work closely with the Independent Monitor and with Dr. Paul Wise to address these challenges.

 Census of Class Members in CBP Custody in the USBP RGV Sector

 In February 2021, there was a 28.8% overall increase in CBP’s encounters with noncitizens
 along the Southwest Border, including single adults, family units, UCs, and accompanied
 minors, resulting in a total of 101,208 encounters.1 Significantly, there was a 61% increase of
 UC encounters and 168% increase in family unit encounters from January.2 Specifically, there
 were 19,587 CBP family unit encounters, including 19,286 USBP encounters.3

 In RGV Sector, the average daily number of individuals in custody was 878 in February 2021,
 compared to 158 in January 2021.4 There was a 114% increase in UC encounters and a 104%
 increase in family unit encounters in RGV Sector when compared to the same time-period in FY
 2020 (October to February).5 In February, RGV Sector encountered 10,489 family units, or 55%
 of all USBP family unit encounters.6 In addition, RGV Sector encountered 3,945 UCs in
 February, or 42% of all USBP UC encounters.7

 In March 2021, there was a 70.6% overall increase in encounters CBP-wide, including single
 adults, family units, UCs, and accompanied minors, resulting in a total of 172,331 encounters.8
 There was a 100.3% increase in UC encounters and 173.8% increase in family unit encounters
 across CBP from February to March 2021.9 USBP accounted for 71,567 of the 72,672
 encounters involving children.10

 In RGV Sector, for the same time period (October-March) in FY 20 to FY 21, there was a
 242.9% increase in encounters.11 Specifically, there was a 488.9% increase in family unit
 encounters and a 230% increase in UC encounters.12 RGV Sector encountered 35,250 family



 1
   See, Southwest Land Border Encounters, U.S. Department of Homeland Security, Customs and Border Protection,
 https://www.cbp.gov/newsroom/stats/southwest-land-border-encounters (last visited April 8, 2021).
 2
   Id.
 3
   Id.
 4
   See, Custody and Transfer Statistics FY2021, U.S. Department of Homeland Security, Customs and Border
 Protection, https://www.cbp.gov/newsroom/stats/custody-and-transfer-statistics (last visited April 8, 2021).
 5
   See, U.S. Border Patrol Southwest Border Apprehensions by Sector, U.S. Department of Homeland Security, U.S.
 Customs and Border Protection, https://www.cbp.gov/newsroom/stats/southwest-land-border-encounters/usbp-sw-
 border-apprehensions (last visited April 8, 2021).
 6
   Id.
 7
   Id.
 8
   See, Southwest Land Border Encounters, U.S. Department of Homeland Security, Customs and Border Protection,
 https://www.cbp.gov/newsroom/stats/southwest-land-border-encounters (last visited April 8, 2021).
 9
   Id.
 10
    Id.
 11
    See, Southwest Land Border Encounters (by Component), U.S. Department of Homeland Security, Customs and
 Border Protection, https://www.cbp.gov/newsroom/stats/southwest-land-border-encounters-by-component (last
 visited on April 8, 2021).
 12
    Id.
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 units, or 66.6% of all USBP family unit encounters along the Southwest Border.13 In addition,
 RGV Sector encountered 9,726 UCs, or 52% of all USBP UC encounters.14

 CBP Status Updates

 This section provides relevant updates related to CBP policies and capacity for processing and
 holding children, considering COVID-19, Title 42, and other significant developments. This
 report does not include the CBP and RGV Sector COVID-19 policies previously discussed in my
 January 15, 2021 and March 5, 2021 reports.

 Capacity for Processing Minors

 CBP continues to assist the Centers for Disease Control and Prevention (CDC) in enforcing its
 Order Suspending the Right to Introduce Certain Persons from Countries Where a
 Quarantinable Communicable Disease Exists (October 13, 2020).15 As of the filing date of this
 report, the government may still expel single adults and families in the United States traveling
 from Canada or Mexico (regardless of their country of origin) who would otherwise be held in
 ports of entry or USBP stations for immigration processing.

 All UCs in the United States are processed under Title 8 in accordance with the Trafficking
 Victims Protection Reauthorization Act of 2008 and transferred to the custody of U.S. Health
 and Human Services (HHS), Office of Refugee Resettlement (ORR) or repatriated to a
 contiguous country. On or about January 30, 2021, the CDC issued a Notice temporarily
 excepting from expulsion unaccompanied noncitizen children encountered in the United States.

 Families may be processed in several ways. In RGV Sector, some families may be processed for
 Title 42 expulsion, generally dependent on family makeup and country of citizenship. Families
 for whom expulsion is not appropriate will be processed under Title 8. In general, such families
 may be transferred to U.S. Immigration and Customs Enforcement (ICE) or processed for local
 release.

 On March 20, due to the high-level of encounters and to alleviate the number of individuals in
 custody, RGV Sector began processing certain families for release without an immigration action
 as a matter of discretion. Families released without an immigration action as a matter of
 discretion are released from CBP custody and informed that they are required to report to the
 nearest ICE office within 60 days.

 COVID-19 Precautions

 CBP has taken comprehensive measures to respond to COVID-19 since the start of the
 pandemic, utilizing the hierarchy of controls model (elimination, engineering controls,
 administrative controls, and personal protective equipment (PPE)) through extensive guidance to
 the workforce. CBP encourages and promotes social distancing to the greatest extent possible.
 13
    March 2021 RGV Sector encounter statistics provided to JCO on April 8, 2021 by CBP STAT Division.
 14
    Id.
 15
    See, 85 Fed. Reg. 65806 (October 16, 2020).
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 At some CBP facilities, due to the number of individuals in custody and delays in acceptance for
 transfer of persons in custody, social distancing is not possible; however, face masks are
 distributed and continually replaced for individuals in custody. CBP also requires agents to wear
 an N-95 respirator when processing, transporting, arresting, or performing any other duty that
 may require an agent to be in close and/or prolonged proximity to individuals in custody.

 DHS and other entities are conducting targeted COVID-19 testing of specific populations at
 certain locations. For example, at CPC-DNT, HHS U.S. Public Health Services (PHS) were
 onsite providing COVID-19 tests to children as they were transferred out of CBP custody to
 other facilities.

 Current Challenges and Response

 The largest challenge facing RGV Sector is the significant numbers of UC and family units being
 encountered. The high volume of children and families entering USBP custody daily, coupled
 with delays in the ability of HHS/ORR to accept custody of UCs in a timely manner, has tested
 the limits of RGV Sector’s capacity. RGV Sector established a temporary outdoor processing
 site (TOPS) to triage the processing of families to minimize time in custody and expeditiously
 transfer individuals out of CBP custody. However, options are more limited for UCs, and most
 must remain in USBP custody until HHS/ORR finds suitable placements and accepts custody.

 To support the influx of children in USBP custody, 21 caregivers have been assigned to RGV
 Sector to provide supervision for children, and to assist with showering and laundry services.
 Additionally, RGV Sector has been assigned 21 Border Patrol Processing Coordinators to assist
 in processing migrants and conduct hospital watch, which will allow agents currently performing
 these duties to return to the field. 16 DHS volunteers from across the agency and the National
 Guard have also been deployed to RGV Sector to assist as needed, including replenishing
 supplies and picking up prescription medications for individuals in custody.

 CBP has continued to significantly expand and enhance its contract medical support at CPC-
 DNT. Additionally, CPC-DNT began utilizing an HHS medical team of five to six persons,
 including two advanced practice providers with pediatric experience and two medical support
 personnel. The HHS medical team conducts roving health checks on UCs awaiting transfer to
 HHS custody to identify potential medical concerns. Any UCs identified with a medical issue of
 concern are referred to CBP contract medical personnel for a medical encounter as appropriate.
 JCO observed this team onsite during its inspection.

 Safe and Sanitary Conditions in USBP RGV Sector

 On April 6 and 7, my team and I conducted inspections at the Donna Centralized Processing
 Center (CPC-DNT) and the temporary outdoor processing site (TOPS) near the Anzalduas
 International Bridge because these locations currently serve as the processing hubs for class
 members in RGV Sector.
 16
   See, U.S. Border Patrol Creates New Position to Support Border Patrol Agents, U.S. Department of Homeland
 Security, Customs and Border Protection, https://www.cbp.gov/newsroom/national-media-release/us-border-patrol-
 creates-new-position-support-border-patrol-agents-0 (last visited April 8, 2021).
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 Donna CPC

 On April 6, my team and I conducted an inspection at CPC-DNT. At the time of the inspection,
 there were 3,508 children onsite: 3,116 unaccompanied children and 392 accompanied children.

 The physical site inspection confirmed that CPC-DNT provided access to the following: meals
 and snacks; drinking water; functioning toilets; functioning sinks with soap; and mats and
 blankets. Changing tables with infant supplies were also available in the pods holding parents
 with infant children. JCO observed that the pods were within the required temperature of 66°F
 to 80°F. JCO noted that the storage area was fully stocked with clothing in multiple sizes, and
 supplies such as baby bottles, baby formula, baby diapers, diaper cream, baby wipes, hand
 sanitizer, soap, shampoo, toothbrushes and toothpaste, feminine hygiene products, juice, cups,
 and car seats. There was a separate designated caregiver area with toys where young UCs under
 the supervision of a caregiver could play; young, accompanied children remained with their
 parents in the pods where TVs were available. Contract medical providers and shower facilities
 were onsite. JCO observed contracted caregivers instructing UCs on how to utilize the shower
 facilities and passing out clean clothes.

 JCO also observed the food service contractor distributing lunch to the individuals in custody.
 Lunch consisted of a burrito, apple, bag of chips, juice box, and bottle of water. Children had
 access to snacks and water in each pod.

 The facility was over capacity, with the pods holding more than the intended number of children.
 However, the janitorial crews were actively cleaning the holding areas, including disinfecting the
 mats and cleaning the various toilets and sinks. The contracted janitorial crew cleans the pods
 three times per day and can spot clean an area if requested. Children received new blankets
 when the holding areas were cleaned. An agent informed JCO that, when possible, the
 contracted janitorial crew cleaned the pods while the children utilized the outdoor recreation
 area.

 Given the number of individuals in custody, USBP could not maintain social distancing at the
 facility as originally intended. However, JCO and I observed that children were provided face
 masks and that the agents, officers, and contract personnel all wore face masks while in the
 facility. JCO also observed contract medical personnel instructing individuals on the proper way
 to use a face mask. Face masks were available in the pods for individuals to take as needed. The
 pods also had hand sanitizer available for use.

 Since JCO’s February inspection, the outdoor recreation area became operational and JCO
 observed that the posts had been covered to prevent injuries. We observed some children
 playing with hula hoops and balls, while other children ran around. The recreation area had
 portable toilets and sinks.

 Temporary Outdoor Processing Site (TOPS)

 On April 7, my team and I inspected TOPS. At the time of the inspection, there were
 approximately 200 accompanied children onsite. This is a temporary processing site that was set
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 up to triage the high numbers of migrants encountered and limit the number of migrants entering
 facilities. TOPS provides social distancing space for those awaiting processing and helps
 prevent potential exposure to contagious illnesses. Migrants arrive at TOPS on their own via the
 Rio Grande River, or are bused in from other USBP stations after apprehension. Currently, this
 site typically processes families with children that are six years old or younger, since these
 families are generally not processed for expulsion to Mexico from RGV Sector. If UCs or
 families with older children arrive at this location, they are transported to other USBP facilities,
 including CPC-DNT.

 The Acting Deputy Patrol Agent in Charge (DPAIC) informed me the goal is to keep families at
 TOPS for the least amount of time possible with many families arriving and being processed
 within a shift. USBP informed JCO that additional accountability measures have been taken to
 limit the time individuals spend onsite. Some are released locally, with assistance from non-
 governmental organizations (NGOs), while others may be transferred to other USBP Sectors.
 The DPAIC explained that the local NGOs will not accept families between 10:00 p.m. and 6:00
 a.m., which may increase the time some families stay at TOPS.

 Contracted medical personnel is available at TOPS. JCO observed individuals arriving at TOPS
 receive a health intake interview, which included a check for lice, scabies, or any emergent
 medical conditions. If an individual in custody is determined to have a medical condition
 requiring more medical care than available at TOPS, they are expeditiously transferred to another
 facility for appropriate medical treatment. If the individual is having a medical emergency,
 USBP will call 9-1-1.

 While at TOPS, families receive amenities available at other USBP facilities. During the
 inspection, JCO noted that meals, water, snacks, clean clothing, baby diapers, face masks, and
 Mylar blankets were available; in addition, there was a changing station for infants. Portable
 toilets and sinks that are cleaned every day were located throughout TOPS. In addition to
 contract personnel maintaining the portable toilets and sink area, JCO observed agents removing
 garbage from the area. Heaters run by generators were also available for use during cooler
 nights. The site included a large fenced-in area, allowing families the freedom to move around
 and social distance, which was encouraged by agents to mitigate COVID-19 exposure, as well as
 providing ample space for children to play. Most of the site is covered by the bridge, providing
 shade. RGV Sector is exploring additional avenues to enhance conditions in anticipation of
 seasonal changes in weather and migrant flows. JCO observed some families moving from
 direct sunlight to a shaded area. USBP agents continuously monitored the families to ensure
 their wellbeing.

 CBP/RGV Renovation and Construction

 Construction at the Centralized Processing Center-Ursula is ongoing, and absent any unforeseen
 delays, will be completed in December 2021.
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 Conclusion

 I have seen first-hand the extensive efforts DHS and CBP have taken to ensure the health and
 safety of children in custody. CBP has not only constructed soft-sided facilities with wrap
 around services, but also expanded its medical, caregiver, food, and supply contracts to support
 the growing number of individuals in custody. DHS has deployed temporary duty personnel,
 activated volunteers across the Department, and utilized National Guard and PHS teams at CBP
 facilities. Finally, CBP is closely coordinating with ORR and the Federal Emergency
 Management Agency to find suitable placements for UCs.

 Through circumstances beyond its control, CBP continues to encounter large numbers of UCs
 and families daily. Currently, RGV Sector experiences this most profoundly. I am encouraged
 to learn that HHS ORR constructed a holding facility on the same property as CPC-DNT that is
 scheduled to go live the week of this report. I was informed that when fully operational, this
 facility will have a capacity of 1,500 beds. This is a welcomed development, and it is my hope
 that this will facilitate more expeditious transfers of UCs from RGV Sector custody.

 Despite these challenges, CBP remains committed to the health and safety of all individuals in its
 custody. We understand our responsibilities under the FSA and have taken extensive efforts to
 anticipate and respond to the unique circumstances which we currently face. We will continue to
 work closely with our interagency partners as well as the Independent Monitor and Dr. Wise to
 proactively address challenges.
